                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge N. Reid Neureiter

Civil Action No: 24-cv-02286-CNS-NRN                   Date: May 6, 2025
Courtroom Deputy: Román Villa                          FTR: Courtroom A401

 Parties:                                              Counsel:

 JAY CONNOR,                                           Andrew Perrong

      Plaintiff,

 v.

 SERVICEQUIK INC, doing business as ZING               Daniel Summa
 BUSINESS MANAGEMENT SOFTWARE, and
 WOOSENDER INC.,                                       Timothy Knowles

      Defendants.


                                      COURTROOM MINUTES


TELEPHONIC STATUS CONFERENCE

10:57 a.m.         Court in session.

Court calls case. Appearances of Counsel.

Status of case discussed.

No further Status Conference will be set at this time. Future status conferences may be
set at the request of the parties.

11:02 a.m.         Court in recess.

Hearing concluded.
Total in-court time: 00:05

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